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8                       IN THE UNITED STATES DISTRICT COURT FOR THE
9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )           Case No. 1:07-CR-00212 AWI
                                         )
12                     Plaintiff,        )           ORDER TO CONTINUE DATE
             v.                          )           FOR STATUS CONFERENCE
13                                       )
                                         )
14                                       )           DATE: January 12, 2009
     LUCIANO SERRANO-ROCHA,              )           TIME: 9:00 a.m.
15   et al.,                             )           PLACE: Courtroom 2
                                         )
16                     Defendants.       )           Honorable Anthony W. Ishii
     ____________________________________)
17
18          Upon the stipulation of the parties and good cause appearing therefore,
19          IT IS HEREBY ORDERED that the status conference presently set for
20   January 12, 2009 at 9:00 a.m. is continued until January 26, 2009, at 9:00 a.m., to be heard
21   before the Honorable Anthony W. Ishii, Courtroom 2.
22
23   IT IS SO ORDERED.
24   Dated:     January 9, 2009                       /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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